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                                                                               2014 Oct-29 AM 08:40
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

CHRISTOPHER R. HUDSON,                       )
                                             )
          Plaintiff,                         )
                                             )
v.                                           ) Civil Action No.:
                                             ) 2:13-cv-02106-TMP
BANK OF AMERICA, N.A.;                       )
EXPERIAN INFORMATION                         )
SOLUTIONS, INC.; and TRANS                   )
UNION, LLC,                                  )
                                             )
          Defendants.                        )


              PLAINTIFF'S MOTION TO VOLUNTARILY DISMISS
                 BANK OF AMERICA, N.A. WITH PREJUDICE

          COMES NOW the Plaintiff and respectfully requests this Honorable Court

to dismiss Plaintiff's claims against Bank of America, N.A. as follows:

     1.      The Plaintiff and Defendant Bank of America, N.A. have resolved their

             differences and desire that the claims against the Defendant Bank of

             America, N.A. be dismissed with prejudice, costs taxed as paid.

          WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully

requests this Honorable Court to grant this Motion of dismissal with prejudice

against the Defendant Bank of America, N.A.
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                                          Respectfully Submitted,

                                          /s/ M. Stan Herring
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                                          Attorneys for Plaintiff



                       CERTIFICATE OF SERVICE

       I hereby certify that on October 29, 2014, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:


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Attorneys for Defendant Bank of America, N.A.


                                    /s/ M. Stan Herring
                                    OF COUNSEL
